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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :
                                                   :
                                                   :
                v.                                 :    CRIMINAL NUMBER 21-553-TFH-1
                                                   :
                                                   :
THOMAS JOHN BALLARD                                :



                                              ORDER

         AND NOW, this              day of                  , 2022, upon consideration of the

Defendant=s Unopposed Motion for Continuance of Trial, it is hereby ORDERED that the

motion is GRANTED. The Court finds that the parties need additional time to determine

whether a non-trial disposition can be negotiated and if not the defense needs more time to

prepare for trial. Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice

served by the continuance outweigh the best interest of the public and the defendant in a speedy

trial.

         Trial in this matter shall begin on the        day of               , 2022.


                                                   BY THE COURT:



                                                   THE HONORABLE THOMAS F. HOGAN
                                                   United States District Court Judge
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
               v.                            :       CRIMINAL NUMBER 21-553-TFH-1
                                             :
                                             :
THOMAS JOHN BALLARD                          :

       DEFENDANT=S UNOPPOSED MOTION FOR CONTINUANCE OF TRIAL

       Thomas John Ballard, by and through his attorney, Andrew C. Moon, Assistant Federal

Defender, Federal Community Defender Office for the Eastern District of Pennsylvania,

respectfully requests a continuance of trial for the above captioned case. As grounds, counsel

avers as follows in support of his motion to continue trial for a minimum of ninety (90) days:

       1.      On August 25, 2021, the undersigned counsel entered his appearance to represent

Mr. Ballard.

       2.      On September 1, 2021, the government filed an indictment against Mr. Ballard,

charging him with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); Obstruction of Official

Proceeding, in violation of 18 U.S.C. § 1512,(c)(2), 2; Assaulting, Resisting, or Impeding Certain

Officers Using a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and (b); Entering and

Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation

of 18 U.S.C. § 1752(a)(1) & (b)(1)(A); Disorderly and Disruptive Conduct in a Restricted Building

or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2) &

(b)(1)(A); Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(4) & (b)(1)(A); Disorderly Conduct in the

Capitol Grounds or Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and Act of Physical

Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F).
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       3.      On October 28, 2021, Mr. Ballard was arraigned and entered a plea of not guilty to

the indictment.

       4.      On January 26, 2022, the government filed a superseding indictment against Mr.

Ballard. No additional charges were filed in this superseding indictment.

       5.      On March 28, 2022, Mr. Ballard was arraigned and entered a plea of not guilty to

the superseding indictment.

       6.      On May 18, 2022, the government filed a second superseding indictment against

Mr. Ballard, charging him with an additional count of Assaulting, Resisting, or Impeding Certain

Officers, in violation of 18 U.S.C. § 111(a)(1).

       7.      The trial is scheduled to commence on August 1, 2022.

       8.      Discovery is voluminous in this case. The last discovery batch, Discovery

Production 15 was received on May 10, 2022. Defense counsel needs additional time to review

the discovery materials with Ms. Ballard, conduct necessary investigation and legal research,

determine if a non-trial disposition is possible, and otherwise prepare for trial. A continuance of

not less than ninety (90) days is respectfully requested.

       9.      Assistant United States Attorney Barry K. Disney has no objection to this

continuance motion.

       10.     Defense counsel stipulates that the time from the filing of this motion until the

trial date is excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A).

       WHEREFORE, for the foregoing reasons, the defense respectfully requests that this

motion be granted.

                                                      Respectfully submitted,

                                                      /s/ Andrew C. Moon
                                                      ANDREW C. MOON
                                                      Assistant Federal Defender
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                                   CERTIFICATE OF SERVICE

          I, Andrew C. Moon, Assistant Federal Defender, Federal Community Defender Office for

the Eastern District of Pennsylvania, hereby certify that I filed the attached Defendant’s

Unopposed Motion for Continuance of Trial via the Court’s Electronic Filing (ECF) system, which

sent notification to Barry K. Disney, Assistant United States Attorney, United States Attorney’s

Office,     1331     F   Street    NW,   Washington,    DC    20005,   via   his    email   address

Barry.Disney@usdoj.gov.


                                                       /s/ Andrew C. Moon
                                                       ANDREW C. MOON
                                                       Assistant Federal Defender


DATE:              June 22, 2022
